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              IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TRACY COHEN                                 )
                                            )       No. 1:24-cv-569
             Plaintiff,                     )
                                            )
     vs.                                    )
                                            )
KERING, GUCCI,                              )       Hon. Judge Martha M. Pacold
GUCCI AMERICA, INC., and                    )
GUCCI NORTH AMERICAN                        )       Hon. Magistrate Judge Jeffrey T. Gilbert
HOLDINGS,                                   )
                                            )       JURY TRIAL DEMANDED
             Defendants.                    )

                                 JOINT STATUS REPORT

  1. The status of written discovery including production of documents:

     The parties have each served and provided responses to written discovery. Each party has
     made an initial production of documents. Plaintiff is in the process of procuring medical
     records. Defendants are working to gather and produce additional responsive documents.

  2. The identity of all fact witnesses either side then intends to depose before the close of fact
     discovery based on then available information:

     Plaintiff:
         1. David Benjamin
         2. Amy Hannaford
         3. Lisa Gutierrez
         4. William Blomquist
         5. Noe Gaona

             As such, additional depositions may need to be taken upon Defendants' production.

     Defendants:
        1. Tracy Cohen

  3. Confirmed or proposed dates for depositions the parties have calendared:

     The Parties have started deposition discovery and are currently scheduling additional
     depositions for July and August .


  4. Dates for Rule 26(a)(2) disclosures and any expert depositions:


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        Plaintiff: By December 1, 2024.
        Defendants: By December 16, 2024.



Dated: July 1, 2024

Respectfully submitted,

/s/ Tamara Holder                                  /s/ Rachel Cowen
Tamara Holder                                      Rachel Cowen
Attorney for Plaintiff                             Attorney for Defendants

                                                   /s/ Kristin Taylor
                                                   Kristin Taylor
                                                   Attorney for Defendants


                                                   Report Filed By:
                                                   By: /s/ Kristin A. Taylor_________
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